Case 2:15-cv-04113-PSG-JEM Document 51 Filed 12/16/15 Page 1 of 3 Page ID #:1119



        DOWNEY BRAND LLP
        STEVEN H. GOLDBERG (Bar No. 140039)
    2   WILLIAM R. WARNS Bar No. 141280)
        MEGHAN M.BAKER ar No. 243765)
    3   OLIVIA M. WRIGHT( ar No. 240200)
        621 Capitol Mall, 18th Floor
    4   Sacramento, CA 95814-4731
        Telephone: 916.444.1000
    5   Facsimile: 916.444.2100
        sgoldber @downeybrand.com
    6   bwarne downeybrand.com
        mbaker downeybrand.com
    7   owright downeybrand.com
    8    AHMAD ZAVITSANOS ANAIPAKOS ALAVI
        & MENSING PC
    9    JOHN ZAVITSANOSadmitted pro hac vice)
        ELIZABETH P. FLET HER (admitted pro hac vice)
   10    1221 McKinne_~y Suite 3460
         Houston, TX 7'010
   11   Telephone: 713.655.11 O 1
        Facsimile: 713.655.0062
   12   jzavisanos@azalaw.com
        efletcher@azalaw.com
   13
        Attorneys for Defendants
   14   PLAINS ALL AMERICAN PIPELINE, L.P.,
        PLAINS PIPELINE, L.P.
   15
   16                       UNITED STATES DISTRICT COURT
  17                       CENTRAL DISTRICT OF CALIFORNIA
  18
  19    STACE CHEVEREZ,individually            Case No. 2:15-cv-04113-PSG-JEM
        and on behalf of others similarly
  20    situated,                               Consolidated with Case Nos. 2:1 S-cv-
                                                4440-PSG-JEM,2:15-cv-04573-PSG-
  21                  Plaintiff,               JEM,2:15-cv-04759-PSG-JEM, 2:15-
                                               cv-04989-PSG-JEM, 2:15-cv-O5118-
  22    v.                                     PSG-JEM]
  23    PLAINS ALL AMERICAN                     r           i~          ~        ~
        PIPELINE, L.P., a Delaware limited          ~   ~          ~   ,!   ~,       t
  24    partnership
                                               Date:             February 29, 2016
  25                  Defendant.               Time:             1:30 m.
                                               Judge:            Hon.~hilip S. Gutierrez
  26                                           Courtroom:        880
  27
  2$

                             NOTICE OF MOTION AND MOTION TO STAY
    Case 2:15-cv-04113-PSG-JEM Document 51 Filed 12/16/15 Page 2 of 3 Page ID #:1120



        1          PLEASE TAKE NOTICE THAT on February 29, 2016, at 1:30 p.m., or as
        2   soon thereafter as the matter may be heard, in Courtroom 880 of the United States
        3   District Court, Central District of California, located at 255 East Temple Street, Los
        4   Angeles, CA 90012-3332, Defendants Plains All American Pipeline, L.P. and
        5   Plains Pipeline, L.P.(collectively "Defendants") will and hereby do move to
        6   temporarily stay the Consolidated Class Action for approximately six months, from
        7   the date of the hearing on February 29, 2016, until August 31, 2016.
        8          This Motion is made following the conference of counsel pursuant to L.R. 7-
        9   3 which has taken place over the past several weeks.
       10          This Motion is made on the grounds that the competing interests weigh in
       11   favor of a short stay of this litigation to allow the ongoing statutory claims process
       12   time to more fully run its course as congressionally intended and to resolve the
a
a      13   nearly 200 open and pending claims. See generally Landis v. N. Am. Co., 299 U.S.
a
Q
       14   248, 254(1936); Leyva v. Certified Grocers ofCalifornia, Ltd., 593 F.2d 857, 863
x
       15   (9th Cir. L 979)(A "trial court may, with propriety, find it is efficient for its own
w      16   docket and the fairest course for the parties to enter a stay of an action before it,
z
3
       17   pending resolution ofindependent proceedings which bear upon the case.") A short
Q
       18   stay wi11 also allow additional individuals and businesses time to submit claims and
       19   receive fast and fair compensation. Because the ongoing claims process may
      20    ultimately resolve many (if not most) of the claims resulting from the Line 901
      21    incident during this six-month timeframe, a limited stay wi11 significantly reduce
      22    the size and scope ofthis complex, consolidated class action, as well as reduce the
      23    potential for double recovery. It may even obviate the need for a class action
      24    altogether, an issue that can be addressed in the class certification process as it
      25    relates to numerosity and related issues. Therefore, a brief stay serves the duel
      26    goals ofjudicial economy and the orderly course ofjustice.
      27    ///
      28 I ///
                                                       2
                                    NOTICE OF MOTION t1ND MOTION TO STAY
     Case 2:15-cv-04113-PSG-JEM Document 51 Filed 12/16/15 Page 3 of 3 Page ID #:1121



         1         This Motion is based upon this Notice of Motion, the Memorandum of Points
         2   and Authorities, and Declaration of James L. Jacoby filed simultaneously herewith;
         3   all of the pleadings and papers on file in this matter; and upon such oral or
         4   documentary evidence that may be presented at the hearing.
         5
             DATED: December 16, ZO15                  DOWNEY BRAND LLP
         6
         7
                                                       By: /s/ William R. Warne
         8                                                      WILLIAM R. WARNE
                                                                Attorney for Defendants
         9                                                    PLAINS ALL AMERICAN
                                                             PIPELINE, L.P. and PLAINS
        10                                                          PIPELINE, L.P
        11
        12
a
a       13
a
Q
        14
x
as      15
w       16
z
3
0       17
Q
        18
        19
       20
       21
       22
       23
       24
       25
       26
       27
       28
                                                       3
                                    NOTICE OF MOTION t~ND MOTION TO STAY
